               Case 3:17-cv-02031-JSC Document 25 Filed 10/05/17 Page 1 of 3




     ROBERT AMADOR, ESQ. (State Bar #269168)
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     Ventura, California 93004
 3   Telephone: (888)308-1119 ext. 11
     Facsimile: (888)535-8267
 4

 5   Attorney for Plaintiff Jorge Flores

 6
                                     UNITED STATES DISTRICT COURT
 7                                 NORTHERN DISTRICT OF CALIFORNIA
                                          OAKLAND DIVISION
 8

 9                                                    )
                                                      )   Case No. 17-cv-02031-JSC
10   JORGE FLORES,                                    )
                                                      )
11                    Plaintiff,                      )
                                                      )
12   v.                                               )
                                                      )
13                                                    )
     TACS III, LLC;                                       NOTICE OF SETTLEMENT
                                                      )
14   DAVID MICHAEL CARR; and                          )
     DOE 1-5,                                         )
15                                                    )
                                                      )
16                                                    )
                      Defendants.                     )
17                                                    )
     ____________________________________
18

19
            NOTICE IS HEREBY GIVEN that plaintiff JORGE FLORES and defendants TACS III,
20

21
     LLC and DAVID MICHAEL CARR have reached a settlement in the above-captioned case.

22   Plaintiff expects the structured settlement to be consummated by December 18, 2017, at which
23
     time Plaintiff expects to file a Dismissal of the entire action.
24

25          October 5, 2017
                                                     s/ Robert Amador
26
                                                     ROBERT AMADOR, ESQ. (CA Bar #269168)
27                                                   Attorney for Plaintiff JORGE FLORES
                                                     Centennial Law Offices
28                                                   9452 Telephone Rd. 156

                                               NOTICE OF SETTLEMENT
     Case 3:17-cv-02031-JSC Document 25 Filed 10/05/17 Page 2 of 3




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                            NOTICE OF SETTLEMENT
                  Case 3:17-cv-02031-JSC Document 25 Filed 10/05/17 Page 3 of 3




                                          CERTIFICATE OF SERVICE
 1

 2              I certify that on this date, October 5, 2017, I caused a copy of the foregoing

 3   REQUEST FOR ENTRY OF DEFAULT to be mailed, First Class U.S. Mail, to the following
 4
     parties:
 5
     DAVID MICHAEL CARR
 6   3145 Geary Blvd., Box 749
 7
     San Francisco, CA. 94118

 8   DAVID MICHAEL CARR
     305 W Broadway, Box 114
 9   New York, NY 10013
10
     TACS III, LLC
11   3145 Geary Blvd., Box 749
     San Francisco, CA. 94118
12

13
                                                         s/ Robert Amador
14                                                     ROBERT AMADOR, ESQ. (CA Bar #269168)
                                                       Attorney for Plaintiff JORGE FLORES
15
                                                       Centennial Law Offices
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                                                       R.Amador@centenniallawoffices.com
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                                                 NOTICE OF SETTLEMENT
